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                  Appendix F: Plaintiffs’ Proposed Special Verdict Forms for
                                     Unjust Enrichment

  Set forth below are suggested interrogatories that would be presented on Special Verdict Forms at
  Trial. This form is meant to be illustrative only, and not comprehensive. Plaintiffs may suggest
  changes to the special interrogatories herein. Moreover, the absence of any claim or state from the
  suggested classes is not intended to constitute a waiver of any claims currently, or in the future,
  brought in this action.

                                  UNJUST ENRICHMENT CLASS #1
                                    THE RESTATEMENT’S BASIC TEST

           A party is enriched if she receives a benefit. A party is unjustly enriched if the retention of
           the benefit would be unfair. A party obtains restitution when she is restored to the position
           she formerly occupied either by the return of something which she formerly had or by the
           receipt of its equivalent in money. Ordinarily, the measure of restitution is the amount of
           enrichment received by the defendant. If the loss suffered differs from the amount of benefit
           received, the measure of restitution may be more or less than the loss suffered or more or less
           than the enrichment.1

           Some states (Illinois, Maryland, and Michigan) incorporate the Restatement’s definition of
           unjust enrichment to determine liability.

                                               A. LIABILITY

           Plaintiffs claim that FCA was unjustly enriched.

           Do you find by a preponderance of the evidence the following:2

           (i)       Did the plaintiffs confer a benefit on FCA?

                                   Yes                    No

           (ii)      Did FCA accept a benefit from the plaintiffs?

                                   Yes                    No

           (iii)     Under the circumstances, would it be unfair for FCA to retain the benefit?



  1
           Restatement (First) of Restitution § 1 (1937) (“Restatement”).
  2
           See 21B Am. Jur. Pleading & Practice Forms Restitution & Implied Contracts §12.1.



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                                 Yes                    No

                                            B. RESTITUTION

           Have plaintiffs proved by a preponderance of the evidence the amount that should
           be restituted to plaintiffs and the class?

                                 Yes                    No

           If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount
           of restitution for Plaintiffs and the Unjust Enrichment Class #1 is $______________. (If you
           answered “no,” do not complete the blank.)




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                                 UNJUST ENRICHMENT CLASS #2
                    THE RESTATEMENT’S TEST AND APPRECIATION OF THE BENEFIT

           Some states (Florida, Nevada, Oregon, Pennsylvania, Washington, and Wisconsin) use the
           Restatement’s definition of unjust enrichment and require that the defendant appreciate the
           benefit to determine liability.

                                              A. LIABILITY

           Plaintiffs claim that FCA was unjustly enriched.

           Do you find by a preponderance of the evidence the following:

           (i)      Did the plaintiffs confer a benefit on FCA?

                                  Yes                    No

           (ii)     Did FCA accept a benefit from the plaintiffs?

                                  Yes                    No

           (iii)    Under the circumstances, would it be unfair for FCA to retain the benefit?

                                  Yes                    No

           (iv)     Did the FCA appreciate the benefit it was receiving from the plaintiffs and
                    the subclass?

                                  Yes                    No

                                            B. RESTITUTION

           Have plaintiffs proved by a preponderance of the evidence the amount that should
           be restituted to plaintiffs and the class?

                                  Yes                    No

           If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount of
           restitution for Plaintiffs and Unjust Enrichment Class #2 is $______________. (If you
           answered “no,” do not complete the blank.)




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                                 UNJUST ENRICHMENT CLASS #3
            THE RESTATEMENT’S TEST AND REQUIRES AN INADEQUATE REMEDY AT LAW

           Some states (Arizona, Colorado, Iowa, Massachusetts, New Jersey, New York, North
           Carolina, Ohio, and Utah) require that there be an inadequate remedy at law before bringing
           an unjust enrichment claim.

                                             A. LIABILITY

           Plaintiffs claim that FCA was unjustly enriched.

           Do you find by a preponderance of the evidence the following:

           (i)      Did the plaintiffs confer a benefit on FCA?

                                  Yes                   No

           (ii)     Did FCA accept a benefit from the plaintiffs?

                                  Yes                   No

           (iii)    Under the circumstances, would it be unfair for FCA to retain the benefit?

                                  Yes                   No

           (iv)     Do the plaintiffs and the subclass have an adequate remedy at law?

                                  Yes                   No

                                           B. RESTITUTION

           Have plaintiffs proved by a preponderance of the evidence the amount that should
           be restituted to plaintiffs and the class?

                                  Yes                   No

           If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate
           amount of restitution for Plaintiffs and Unjust Enrichment Class #3 is $______________.
           (If you answered “no,” do not complete the blank.)




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                                 UNJUST ENRICHMENT CLASS #4
                         RESTATEMENT TEST AND REQUIRES WRONGFUL CONDUCT

           Some states (Missouri and Texas) require that a defendant engage in wrongful conduct in
           order to bring an unjust enrichment claim.

                                             A. LIABILITY

           Plaintiffs claim that FCA was unjustly enriched.

           Do you find by a preponderance of the evidence the following:

           (i)      Did the plaintiffs confer a benefit on FCA?

                                  Yes                   No

           (ii)     Did FCA accept a benefit from the plaintiffs?

                                  Yes                   No

           (iii)    Under the circumstances, would it be unfair for FCA to retain the benefit?

                                  Yes                   No

           (iv)     Did FCA engage in wrongful conduct?

                                  Yes                   No

                                            B. RESTITUTION

           Have plaintiffs proved by a preponderance of the evidence the amount that should
           be restituted to plaintiffs and the class?

                                  Yes                   No

           If “yes,” complete the following blank: The [Court/Jury] finds that the appropriate amount
           of restitution for Plaintiffs and the Unjust Enrichment Class #4 is $______________. (If you
           answered “no,” do not complete the blank.)




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